        Case 2:21-cv-00347-SAB        ECF No. 13   filed 04/13/22   PageID.68 Page 1 of 3




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     Attorneys for Defendants
 7

 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                               EASTERN DISTRICT OF WASHINGTON
10
     EQUAL EMPLOYMENT                              Civil Action No. 2:21-cv-00347-SAB
11
     OPPORTUNITY COMMISSION,
12                                                 NOTICE OF SETTLEMENT
                        Plaintiffs,
13                                                 [Clerk’s Action Required]
             vs.
14
     AIR CONTROL HEATING & AIR
15
     CONDITIONING, INC. d/b/a AIR
16   CONTROL HEATING & ELECTRIC,
     INC.,
17

18                      Defendants.

19

20   TO: CLERK OF THE COURT
21           Notice is hereby given that all claims against all parties in this action have
22   been resolved in principle. Any trials or other hearings in this matter may be
23   stricken from the court calendar.
24           This notice is being filed with the consent of all parties. The parties will file
25   a consent decree fully and finally resolving all claims in this case within thirty (30)
26   days after the filing of this Notice of Settlement.
27

     NOTICE OF SETTLEMENT - 1                           LEWIS BRISBOIS BISGAARD & SMITH LLP
     USDC 2:21-cv-00347-SAB                                   1111 Third Avenue, Suite 2700
                                                                Seattle, Washington 98101
                                                                       206.436.2020
     4883-9320-3995.1
        Case 2:21-cv-00347-SAB   ECF No. 13   filed 04/13/22   PageID.69 Page 2 of 3




 1   DATED: April 13, 2022           LEWIS BRISBOIS BISGAARD & SMITH LLP
 2

 3
                                           s/Benjamin J. Stone
 4                                   Benjamin J. Stone, WSBA #33436
 5
                                            s/Hannah Driscoll
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     NOTICE OF SETTLEMENT - 2                      LEWIS BRISBOIS BISGAARD & SMITH LLP
     USDC 2:21-cv-00347-SAB                              1111 Third Avenue, Suite 2700
                                                           Seattle, Washington 98101
                                                                  206.436.2020
     4883-9320-3995.1
        Case 2:21-cv-00347-SAB      ECF No. 13    filed 04/13/22   PageID.70 Page 3 of 3




 1                               DECLARATION OF SERVICE
 2           I hereby certify that on April 13, 2022, I electronically filed the foregoing
 3   with the Clerk of the Court using the CM/ECF system, which will send notification
 4   of such filing to all attorneys of record.
 5           Roberta L. Steele         roberta.steele@eeoc.gov
 6           Damien A. Lee             damien.lee@eeoc.gov
 7           May Che                   may.che@eeoc.gov
 8           Clive Pontusson           clive.pontusson@eeoc.gov
 9           Gwendolyn Reams           gwendolyn.reams@eeoc.gov
10           Christopher Lage          christopher.lage@eeoc.gov
11

12           Dated April 13, 2022 at Seattle, Washington.
13

14                                            s/Tami L. Foster
                                              Tami L. Foster, Legal Secretary
15                                            Tami.Foster@lewisbrisbois.com
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     NOTICE OF SETTLEMENT - 3                          LEWIS BRISBOIS BISGAARD & SMITH LLP
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